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                                       The Law Offices Of

                   J o s e p h A. B o n d y

Joseph A. Bondy                                                      1776 Broadway
                                                                     Suite 2000
                                                                     New York NY 10019
Stephanie R. Schuman                                                 Tel 212.219.3572
(Of COunseL)                                                         Fax 212.219.8456
                                                                     josephbondy@mac.com



                                                         November 27, 2020
BY EMAIL
Rebekah Donaleski, Esq.
Nicolas Roos, Esq.
Douglas Zolkin, Esq.
Assistant United States Attorneys
United States Attorney’s Office
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007

       Re: (S-1) United States v. Parnas, et al., 19 Cr. 725 (JPO)

Dear Counsel:

       We write on behalf of all defendants, to request certain specific information regarding the
grand juries that returned the original and superseding indictments.

       Quorum

        In United States v. Reyes, 921 F.Supp. 189 (S.D.N.Y. 1996), the court ordered the
government to produce grand jury attendance and voting records, where the defendant produced
documents obtained from the Jury Administrator proving that ten members of the grand jury
that returned a third superseding indictment were in fact not members of the grand jury when it
voted for the original, first and second superseding indictments. Finding a valid question of
potential government misconduct in failing to present all evidence upon which its earlier
indictments were based, the court ordered the government to produce all grand jury attendance
and voting records.

        We request production of the following items:

       1.     Confirmation that there was continuity in the grand jurors between the initial and
second presentments.


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       2.      Confirmation that at least 12 of the jurors who were present on September 18,
2020 (the date the first superseding indictment was returned) were also members of the grand
jury on or before October 9, 2019 (the day the original indictment was returned)?

       3.       If there were grand jurors who were present for the return of the first superseding
indictment but not the original indictment, please explain what steps the Government took to
present these jurors with all testimony and evidence upon which the previous indictment was
based.

        4.      Specifically, confirm whether the grand jury testimony upon which the first
indictment had been returned was read to these jurors, or instead, the Government simply read
the prior indictment. Confirm whether or not all of the evidence supporting the original charges
made available to the new jurors.

       5.      If any arguably attorney-client privileged communications were presented to the
grand jury that returned the superseding indictment. If so, please provide the basis for the
Government’s assertion that this information is not privileged.

          Grand Jury Presentment

        In the superseding indictment, the Government “streamlined” Count One to exclude the
allegation of Messrs. Parnas and Fruman participating in a plot with unnamed corrupt former
Ukrainian Government officials to persuade U.S. Government officials to remove then-American
Ambassador to Ukraine Marie Yovanovich.

        On February 10, 2020, United States Attorney General William P. Barr made several
public statements regarding the “providence” and “credibility” problems presented by
“information coming in about Ukraine,” none of which could be received “at face value.”1 These
included:

          • “The DOJ has the obligation to have an open door to anybody who wishes to
            provide us information that they think is relevant, but as I did say to Senator
            Graham, we have to be very careful with respect to any information coming from the
            Ukraine.”2




1 See ABC News Politics (@ABCPolitics), TWITTER (Feb. 10, 2020, 12:29pm), https://
twitter.com/ABCPolitics/status/1226921058051219464?
ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetembed%7Ctwterm%5E1226921058051219464%7
Ctwgr%5E%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fabcnews.go.com%2FPolitics%2Fag-
barr-doj-review-giuliani-documents-info-ukraine%2Fstory%3Fid%3D68884719.
2   Id.

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              • "There are a lot of agendas in the Ukraine, there are a lot of cross-currents and
                we can't take anything we receive from the Ukraine at face value”3

              • “And for that reason we had established an intake process in the field so that any
                information coming in about Ukraine could be carefully scrutinized by the department and its
                intelligence community partners so that we could assess its providence and its credibility.”4

(emphases added.)

        Presenting any such information from Ukraine to a grand jury “at face value,” before
being “carefully scrutinized by the department and its intelligence community partners so that
[they] could assess its providence and its credibility,” and without a fair accounting of its
trustworthiness, would be fundamentally unfair to Mr. Parnas—just as it is unfair to obtain an
indictment based upon false evidence, United States v. Ciambrone, 601 F.2d 616, 622-23 (2d Cir.
1979), so too is it unfair to mislead a grand jury into thinking it is receiving credible evidence
from reliable sources.

        Prosecutors owe a duty of good faith to the court, grand jury, and defendants to screen
out unreliable grand jury witnesses, and Justice Department policy requires prosecutors to
disclose "substantial evidence that directly negates the guilt of a subject of the investigation" to
the grand jury before seeking an indictment. See JM 9-11.233.

              We request production of the following items:

      1.      Identify whether any information or testimony of the kind described by Attorney
General Barr was presented to the grand jury that returned the original indictment.

        2.       If any such information or testimony was originally presented, please identify
whether any of this evidence was withdrawn or not presented during the subsequent presentment
the led to the first superseding indictment.

        3.      If any such information or testimony was originally presented, then subsequently
withdrawn or not presented, please identify whether grand jurors received any instructions or
warnings related to the potential credibility problems posed by this evidence—including
credibility problems related to any agents responsible for the gathering of this evidence.

       4.     If any such information or testimony was originally presented, then subsequently
withdrawn or not presented, please identify and produce it in entirety, forthwith.

       5.     If any such information or testimony was originally presented, then subsequently
withdrawn or not presented, please confirm whether any of this information was relied upon in
obtaining any of the search warrants in this case and, if so, which ones.

3   Id.
4   See id.

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        6.     If any such information or testimony was presented in seeking the first indictment
but later withdrawn or not presented, how many grand jurors who heard the presentment of this
evidence in the original were present at the time of the return of the superseding indictment.

       Fair Cross Section

         The Defendants intend to challenge, inter alia, the composition of the grand jury in this
case, and therefore ask for production of records and papers used in connection with the
constitution of the Master and Qualified Jury Wheels in the United States District Court for the
Southern District of New York, pursuant to the Fifth and Sixth Amendments to the United
States Constitution and the Jury Selection and Service Act (“JSSA”), 28 U.S.C. §§ 1867(a) and (f).
As you know, Section 1867(f) of Title 28 of the United States Code states that “the parties shall…
be allowed to inspect, reproduce, and copy… records or papers [used by the commission or clerk
in connection with the jury selection process] at all reasonable times during the preparation and
pendency of… a motion under subsection (a).” See also Test v. United States, 420 U.S. 28, 30 (1975)
(right to inspect records is supported “not only by the plain text of the statute, but also by the
statute’s overall purpose in insuring grand and petit juries selected at random from a fair cross
section on the community”), quoting 28 U.S.C. § 1861(d)). To the extent that the USAO SDNY is
already in possession of these materials, and to expedite this process and conserve judicial
resources, we request voluntary production of these materials. The requested materials are
necessary to properly challenge the jury selection procedures used in this district.

         To invoke the right to inspect under 28 U.S.C. § 1867(f) and “[t]o avail himself of [the]
right of access to otherwise unpublic jury selection records, a litigant needs only allege that he [or
she] is preparing a motion challenging the jury selection procedures.” United States v. Alden, 776
F.2d 771, 773 (8th Cir. 1985) (internal citations omitted). The Defendants are not required to
make any showing with respect to probabilities of success of such a motion. See, e.g., United States v.
Royal, 100 F.3d 1019, 1025 (1st Cir. 1996); see also United States v. Gotti, 2004 WL 2274712, at *5
(S.D.N.Y. Oct. 7, 2004) (granting motion for discovery even absent any showing that information
would reveal a violation).

         Accordingly, we ask that you provide the following information. If an item is not known,
please indicate this fact. If an item is not in your possession, please indicate whether you consent
to its production being Ordered by the Court:

       1.      Please indicate which jury division was chosen for the grand jury in this case.

       2.      Please provide the specific location where the grand jury sat.

       3.      Confirm whether or not any aspect of the grand jury presentment was conducted
remotely, and, if so, whether grand jurors ever appeared remotely.

        4.     A description of any changes from the previous procedures or from the Jury Plan
for the grand jury or creation of the grand jury because of the Covid-19 pandemic.


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       5.      Any order of the Court that affects the previous procedures or the Jury Plan for
the grand jury or creation of the grand jury because of the Covid-19 pandemic.

      6.     To the extent known, describe work done, contact information, and
communications with any vendors in the creation of the Master and Qualified Jury Wheels used
to summon grand jurors in this case.

        7.      The Jury Plan for the Southern District of New York currently in effect and, if
different in any respect, at the time grand jurors were summoned in this case.

        8.     A description of the reason(s) for the choice of jury division for the grand jury in
this case.

        9.     Any “AO-12 form” or “JS-12 form” created which relates to the District and
Divisional Master Jury Wheels and Qualified Jury Wheels that were used to summon the grand
jurors who returned the indictment in this case as required by 28 U.S.C. § 1863(a).

       10.     Any other statistical or demographic analyses produced to ensure the quality and
compliance of the Master Jury Wheels and Qualified Jury Wheels that were used to summon
grand jurors in this case with the Jury Plan, Jury Selection and Service Act and constitutional
requirements.

        11.     The date when the Master Jury Wheel that was used to summon grand jurors in
this case was refilled as described in the Jury Plan Section III B.

       12.    The record of the steps, numbers, and calculations as described in the Jury Plan
Section II A.

      13.    The general notice explaining the process by which names are periodically and
randomly drawn as described in the Jury Plan Section III D.

       14.     The calculation of the division of jurors from Westchester, Putnam, and Rockland
Counties to reasonably reflect the relative number of registered voter s as described in the Jury
Plan Section IV B.

        15.     The procedures implemented related to prospective jurors who do not respond to
a juror qualification form or have their juror qualification form returned from the Postal Service
as undeliverable as described in the Jury Plan Section III E.

        16.    The date when grand jurors were summoned in this case.

       17.     The number of persons summoned from the Qualified Jury Wheel to be
considered as grand jurors in this case.

        18.    The District, Manhattan Division, and White Plains Division Master Jury Wheel
data as described in the Jury Plan Sections III A, III B and III C in electronic and accessible form

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that includes Juror Number, Race, Gender, Hispanic Ethnicity, Year of Birth, Zip Code, City,
County and Jury Division.

       19.     The District, Manhattan Division, and White Plains Division Qualified Jury
Wheel data as described in the Jury Plan Section III D in electronic and accessible form that
includes Juror Number , Race, Gender, Hispanic Ethnicity, Year of Birth, Zip Code, City, County
and Jury Division.

       20.      Status Codes for potential jurors who were selected from the Master Jury Wheel
for qualification who either had their qualification form returned by the postal service, did not
respond or were disqualified or exempted from jury service as described in the Jury Plan. The
data should be in electronic and accessible form that includes Juror Number, whether the form
was returned Undeliverable , whether the form was not returned, Reason for Disqualification,
Race, Gender, Hispanic Ethnicity, Year of Birth, Zip Code, City, County, and Jury Division.

       21.     The Juror Number only (and not Name or Address) for persons selected as
potential grand jurors in this case.

         22.     The source of data in electronic form for the Master Jury Wheel used to summon
grand jurors in this case as described in the Jury Plan Sections I (4) and III A (voter registration
list). The data should include, as available, Race, Gender, Hispanic Ethnicity, Year of Birth, Zip
Code, City, County, and Jury Division but not any personal information or information that
could be used to identify any individual such as Name or Address.

      23.    The juror qualification and summons forms for persons summoned to potentially
become grand jurors in this case.

      24.      The disposition of each summoned potential grand juror in this case as to excusal,
deferment, disqualification or selection as described in the Jury Plan.

       Thank you in advance for your anticipated response.

                                                              Sincerely,

                                                              ____/S/______
                                                              Joseph A. Bondy
                                                              Stephanie R. Schuman




c:     All counsel




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